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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-26;

U.S. NAVY SPECIAL WARFARE
COMBATANT CRAFT CREWMEN 1-5;

U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1; and

U.S. NAVY DIVERS 1-3,

                       Plaintiffs,
                                                          Case No. 4:21-cv-01236-O
        v.

JOSEPH R. BIDEN, JR., in his official
capacity as President of the United States of
America; LLOYD J. AUSTIN, III,
individually and in his official capacity as
United States Secretary of Defense; UNITED
STATES DEPARTMENT OF DEFENSE;
CARLOS DEL TORO, individually and in
his official capacity as United States Secretary
of the Navy,

                       Defendants.


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                      MOTION FOR PRELIMINARY INJUNCTION

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Respectfully submitted this 24th day of November, 2021.

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of an attorney admitted to the D.C. Bar.
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                             Tab 1




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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26;

 U.S. NAVY SPECIAL WARFARE
 COMBATANT CRAFT CREWMEN 1-5;

 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1; and

 U.S. NAVY DIVERS 1-3,

                        Plaintiffs,
                                                             Case No. 4:21-cv-01236-O
           v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States of
 America; LLOYD J. AUSTIN, III,
 individually and in his official capacity as
 United States Secretary of Defense; UNITED
 STATES DEPARTMENT OF DEFENSE;
 CARLOS DEL TORO, individually and in
 his official capacity as United States Secretary
 of the Navy,

                        Defendants.


                         DECLARATION OF MICHAEL D. BERRY

       Pursuant to 28 U.S.C. § 1746, I, Michael D. Berry, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the attorneys of record for the Plaintiffs in this matter.

   3. The information contained in this declaration is based on my personal knowledge.

   4. Attached as Exhibit 1 to this declaration are true and correct copies of Plaintiffs’ requests

for religious accommodations as submitted to Defendants.




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   5. Attached as Exhibit 2 to this declaration is a true and correct copy of the affidavit U.S.

Army Lieutenant Colonel Theresa Long submitted in Robert, et al. v. Austin, et al., 1:21-cv-02228-

RM-STV (D. Colo., filed Aug. 17, 2021).

   6. Attached as Exhibit 3 to this declaration is a true and correct copy of Navy Bureau of

Medicine Instruction (BUMEDINST) 6230.15B, “Immunizations and Chemoprophylaxis for the

Prevention of Infectious Diseases,” (Oct. 7, 2013).

   7. Attached as Exhibit 4 to this declaration is a true and correct copy of Secretary of Defense,

Memorandum, “Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense

Service Members” (Aug. 24, 2021).

   8. Attached as Exhibit 5 to this declaration is a true and correct copy of ALNAV 062/21,

“Department of Navy Mandatory COVID-19 Vaccination Policy” (Aug. 30, 2021).

   9. Attached as Exhibit 6 to this declaration is a true and correct copy of NAVADMIN 190/21,

“Navy Mandatory COVID-19 Vaccination and Reporting Policy” (Aug. 31, 2021).

   10. Attached as Exhibit 7 to this declaration is a true and correct copy of Trident Order #12 –

“Mandatory Vaccination for COVID-19” (Sept. 24, 2021).

   11. Attached as Exhibit 8 to this declaration is a true and correct copy of NAVADMIN 225/21,

“COVID-19 Consolidated Disposition Authority” (Oct. 13, 2021).

   12. Attached as Exhibit 9 to this declaration is a true and correct copy of Department of

Defense Instruction (DODI) 1300.17, “Religious Liberty in the Military Services” (Sept. 1, 2020).

   13. Attached as Exhibit 10 to this declaration is a true and correct copy of Secretary of the

Navy Instruction (SECNAVINST) 1730.8B, “Accommodation of Religious Practices (Oct. 2,

2008).




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   14. Attached as Exhibit 11 to this declaration is a true and correct copy of Navy Bureau of

Personnel Instruction (BUPERSINST) 1730.11A, “Standards and Procedures Governing the

Accommodation of Religious Practices” (Mar. 16, 2020).

   15. Attached as Exhibit 12 to this declaration is a true and correct copy of Navy Personnel

Manual (MILPERSMAN) 1730-020, Immunization Exemptions for Religious Beliefs” (Aug. 15,

2020).

   16. Attached as Exhibit 13 to this declaration is a true and correct copy of

COMNAVSPECWARCOMINST 1221.1A (Oct. 15, 2018).

   17. Attached as Exhibit 14 to this declaration is a true and correct copy of FRAGO 33 to

USSCOCOM OPORD for Novel Corona Virus 2019 nCov (COVID-19).

   18. Attached as Exhibit 15 to this declaration are true and correct copies of several Plaintiffs’

COVID-19 Vaccination Administrative Counseling/Warning letters.

   19. Attached as Exhibit 16 to this declaration is a true and correct copy of The White House,

“FACT SHEET: President Biden to Announce New Actions to Get More Americans Vaccinated

and Slow the Spread of the Delta Variant” (July 29, 2021).

   20. Attached as Exhibit 17 to this declaration is a true and correct copy of Meghann Meyers

and Howard Altman, Pentagon, reacting to Biden order, working on plan for mandatory COVID-

19 vaccinations, Military Times (Oct. 21, 2021).

   21. Attached as Exhibit 18 to this declaration is a true and correct copy of Megan Eckstein, US

Navy nears 100 percent vaccination for sailors, but unable to measure civilian compliance, Navy

Times (Nov. 4, 2021).




                                                          Pls' Mot. for Prelim. Inj. App. 000004
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   22. Attached as Exhibit 19 to this declaration is a true and correct copy of Kristina Wong,

Exclusive: Marine Corps Commanders Using Form Letter to Deny Religious Exemptions,

Breitbart (Nov. 2, 2021).

   23. Attached as Exhibit 20 to this declaration is a true and correct copy of U.S. Dep’t of Health

& Human Servs., “Possible Treatment Options for COVID-19.”

   24. Attached as Exhibit 21 to this declaration is a true and correct copy of U.S. Food & Drug

Admin., “Know Your Treatment Options for COVID-19.”

   25. Attached as Exhibit 22 to this declaration is a true and correct copy of Press Release,

“Pfizer’s Novel COVID-19 Oral Antiviral Treatment Candidate Reduced Risk of Hospitalization

or Death by 89% in Interim Analysis of Phase 2/3 Epic-HR Study” (Nov. 5, 2021).

   26. Attached as Exhibit 23 to this declaration is a true and correct copy of Jonathan Lambert,

How Did We Get Here? 7 Things to Know About Measles, NPR.org (Apr. 30, 2019).

   27. Attached as Exhibit 24 to this declaration is a true and correct copy of Brian Platt, Why

‘ideal’ herd immunity for COVID-19 is likely impossible – but attempting to get there still matters,

National Post (Nov. 5, 2021).

   28. Attached as Exhibit 25 to this declaration is a true and correct copy of Julia Ries, CDC

Reportedly Says Delta Variant as Infectious as Chickenpox: What to Know Now, Healthline (July

30, 2021).

   29. Attached as Exhibit 26 to this declaration is a true and correct copy of Centers for Disease

Control & Prevention, Possibility of COVID-19 Illness after Vaccination (updated Nov. 9, 2021).

   30. Attached as Exhibit 27 to this declaration is a true and correct copy of U.S. Food & Drug

Admin., “Emergency Use Authorization (EUA) for an Unapproved Product: Review

Memorandum” (Dec. 11, 2020).




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   31. Attached as Exhibit 28 to this declaration is a true and correct copy of U.S. Food & Drug

Admin., “Emergency Use Authorization (EUA) for an Unapproved Product: Review

Memorandum” (Dec. 18, 2020).

   32. Attached as Exhibit 29 to this declaration is a true and correct copy of U.S. Food & Drug

Admin., “Emergency Use Authorization (EUA) for an Unapproved Product: Review

Memorandum” (Feb. 27, 2021).

   33. Attached as Exhibit 30 to this declaration is a true and correct copy of U.S. Dep’t of Justice,

Office of Legal Counsel, Whether Section 564 of the Food, Drug, and Cosmetic Act Prohibits

Entities from Requiring the Use of a Vaccine Subject to an Emergency Use Authorization, July 6,

2021 (slip opinion).

   34. Attached as Exhibit 31 to this declaration is a true and correct copy of Annette B. Vogel,

et al., “BNT162b vaccines protect rhesus macaques from SARS-CoV-2,” Nature (Feb. 1, 2021).

   35. Attached as Exhibit 32 to this declaration is a true and correct copy of Meeting of the

Vaccines and Related Biological Products Advisory Committee, U.S. Food and Drug Admin.

(May 16, 2001) (Statement of Dr. Alex van der Eb, emeritus professor at the University of Leiden).

   36. Attached as Exhibit 33 to this declaration is a true and correct copy of Centers for Disease

Control, “Understanding mRNA COVID-19 Vaccines” (Mar. 4, 2021).

   37. Attached as Exhibit 34 to this declaration is a true and correct copy of Patricia Kime, DoD

Confirms: Rare Heart Inflammation Cases Linked to COVID-19 Vaccines, Military.com (June 30,

2021).

   38. Attached as Exhibit 35 to this declaration is a true and correct copy of declaration submitted

by Captain Mery-Angela Sanabria Katson, U.S. Navy, in Navy Seal #1 v. Biden, 8:21-cv-02429-

SDM-TGW (M.D. Fla., filed Nov. 12, 2021).




                                                           Pls' Mot. for Prelim. Inj. App. 000006
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   39. Attached as Exhibit 36 to this declaration is a true and correct copy of U.S. Navy Manual

of the Medical Department, P-117, Change 167 (Feb. 15, 2019).

       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on November 22, 2021.



                                              /s/Michael D. Berry
                                              MICHAEL D. BERRY




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                         Exhibit 1




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                                            SEAL 7




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        SEAL 7




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           SEAL 11




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                                                  SEAL 11




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         SEAL 11




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                                     SEAL 11




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                                                                                              11 SEP 2021



From: SO1 SEAL 12
To:   Commander, Navy Recruiting Command
Subj: Request for Religious Accommodation for Vaccination




I hereby request a Religious Accommodation from vaccination. I am a Christian who believes in the
Bible. My belief in God’s inspired Word compels me to submit to His Law.

I have taken vaccines in the past, however, I have grown in faith and knowledge since then. In years
prior, I blindly trusted every vaccine I was given. Since then, as my views have aligned with Holy
Scripture, I have come to scrutinize all vaccines more and more. I have reached a point in my spiritual
growth where I cannot, in good conscience, submit to all future vaccination for several reasons.

First, the Bible teaches that the body is a temple for the Holy Spirit. “Or do you not know that your body
is a temple of the Holy Spirit within you, whom you have from God? You are not your own, for you were
bought with a price. So glorify God in your body,” 1 Corinthians 6:19-20. As I trust this passage to be the
words of the Holy Spirit, I strive to keep my body pure from sin as I also abstain from flooding my body,
which God created, with unclean foods and injections. Most vaccines contain neurotoxins, hazardous
substances, attenuated viruses, animal parts, foreign DNA, albumin from human blood, carcinogens, and
chemical wastes that are proven harmful to the human body. As a Christian who strives to honor God by
taking care of the body He designed for me, I cannot voluntarily inject these ingredients into my
bloodstream just as I would never voluntarily put these ingredients into my food.

Second, the Bible teaches that God created humans in His image (Genesis 1:26), that He knit us together
in the womb (Psalm 139:13), and that He knew us before we were formed in the womb (Jeremiah 1:5).
Proverbs 6:16-17 teaches “There are six things that the Lord hates” and that one of those things is
“hands that shed innocent blood.” Because of these truths taught in Scripture, I cannot have anything to
do with abortion. I have always stood against abortion, but in years past, I had no idea that the vaccines
I was taking use aborted fetal tissue in various stages of their development and testing. This is beyond
offensive to me, and I feel my trust has been violated because this was never disclosed to me. The Pfizer
and Moderna Covid-19 vaccines were both tested on aborted fetal tissue, and the Johnson & Johnson
vaccine was actually made using aborted fetal tissue. The thought of injecting this into my body, “the
temple of the Holy Spirit,” is repulsive to my conscience and blasphemous to the Holy Spirit who dwells
in me.

Third, the Bible teaches that God created our bodies with a specific design: “For you formed my inward
parts; you knitted me together in my mother’s womb. I praise you, for I am fearfully and wonderfully
made. Wonderful are your works; my soul knows it very well.” Currently, the only Covid-19 vaccine that




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is being mandated by the DOD, the Pfizer vaccine, uses mRNA technology. This product enters the cell
and artificially elicits a genetic response to synthesize spike proteins. I am fearfully and wonderfully
made, and my soul knows it very well. I cannot, in good conscience, insert into my body something that
will affect the natural genetic activities designed by my Creator.

Finally, I am deeply troubled by the current regulations on vaccine passports and the striking
resemblance they bear with events prophesied in the Bible. Revelation 13:16-17 reads, “Also it causes
all, both small and great, both rich and poor, both free and slave, to be marked on the right hand or the
forehead, so that no one can buy or sell unless he has the mark, that is, the name of the beast or the
number of its name.” Later, Revelation 18 tells of a great angel administering God’s violent judgement
on “Babylon,” and in verse 23, the angel states, “and all nations were deceived by your sorcery.” Here,
the original Greek word for “sorcery” in this text is “pharmakeia,” the very word where we get
“pharmacy” and “pharmaceuticals.” With a rapidly growing number of businesses, institutions, and
governments requiring this “mark,” complete with serial numbers, to do any business, and considering
that it all surrounds this “pharmakeia,” these passages are extremely alarming to me. I cannot be a
willing participant in this “passport” system because it stands in opposition to my religious beliefs.

Please understand that I am not resisting vaccines out of a rebellious spirit or for political purposes. The
Covid debate is politically charged, but my current beliefs about vaccines began to develop before Covid.
In 2018, both of my wife’s parents died of cancer the same year. As we watched both of them endure
failing treatments, my wife and I diligently researched everything we could about healthy living (diet,
pharmaceuticals, vitamins/supplements, water filtration, exercise, sleep, shampoo, deodorant,
toothpaste, etc.). As we researched, we were shocked at the things we found about vaccines
specifically. Gradually, I have become more and more bothered by all vaccines, and as a Christian, I
cannot passively go along with something that I feel corrupts God’s creation. I simply want to glorify
God, and to me, this is the right path. John 4:17 reads, “So whoever knows the right thing to do and fails
to do it, for him it is sin.”

I understand that this religious accommodation may affect my ability to deploy. I am fully aware of the
possible administrative actions that can be taken against me. I have begun treatment for several injuries
I have suffered in training and in combat overseas, and it is my hope that I can be exempt from further
vaccination so I can peacefully complete these treatments without the worry of being punished for my
religious convictions.




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    (D) Vaccine ingredients that contain aborted fetal cells include, but are not limited to: PER C6, HEK
        293, IMR-90, WI-38, WI-1 through WI-25, W-44, and MCR-5. Additionally, the following over
        the counter drugs were developed using fetal tissue: Tylenol, Pepto Bismol, Aspirin, Ibuprofen,
        Benadryl, and Claritin.

    (E) Although some immunizations do not contain human tissue as an ingredient, many use aborted
        fetal cells during testing phases of production. By allowing myself to be vaccinated with
        products made by companies who use aborted fetal tissues in any way, I am investing in that
        company’s financial security (Deuteronomy 27:25 forbids reward for murder).

    (F) See David Prentice, Ph. D, COVID-19 Vaccine Candidates and Abortion-Derived Cell Lines,
        Charlotte Lozier Institute, June 2, 2021, https://losierinstitute.org/update-covid-19-vaccine-
        candidates-and-abortion-derived-cell-lines/.

2. Adding external contaminants into my body, especially into my bloodstream.

    (A) In the Bible, blood represents the life force of humans and animals (Genesis 9:4; Leviticus 17:10-
        11; 17:14; Deuteronomy 12:23; Acts 15:20; 15:29).
    (B) Aside from aborted fetal cells, vaccines also contain other ingredients contrary to my religious
        beliefs such as several types of animal and insect cells (Luke 13:1-5; Leviticus 11:13-47;
        Deuteronomy 14:19).

    (C) The human body is a temple belonging to God, which the Bible commands we can take care (1
        Corinthians 3:16-23; 6:19-20; Romans 12:1-2). In addition to the ingredients listed above, I
        believe other common vaccine ingredients such as: thimerosal, formaldehyde, aluminum,
        monosodium glutamate, acetone, and phenoxyethanol have reasonable potential to do harm to my
        body.

3. Allowing a vaccine into my body is in direct violation of my sincere religious beliefs due to the reasons
outlined above. God created the human body in His image and saw that it was good (Genesis 1:27; 1:31).
My faith is in the word of God, not in the wisdom of man pertaining to maintaining a healthy body (Mark
2:17; 1 Corinthians 3:16; 6:19-20; Proverbs 14:12; Psalm 118:8; Acts 5:29; Matthew 9:12).

This decision is based on my individual spiritual conscience and interpretation to live by God’s word.
Therefore, I sincerely hold that vaccines are made in violation of God’s word, in allowing toxins, viruses,
bacteria, animal blood, and aborted fetal tissue into my body. I am submitting this accommodation for all
routine and non-routine vaccinations:

MMR – (99 aborted fetuses were used to develop this vaccine)
Pneumococcal
Rabies
Tdap
Hepatitis A
Hepatitis B




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Polio
Typhoid
Yellow Fever
Influenza
Anthrax
Covid-19
Japanese Encephalitis
Any future vaccines

I understand that in the past I have been inoculated with some of the above. Due to the recent pandemic
and expedited development of vaccines, I have educated myself more on vaccine development, research,
and ingredients past and present. Just as I continue to move closer to God in my religious beliefs during
my lifetime, my evolving understanding based on available research of vaccines has exposed the
contradiction between my faith and what is put into my body.

I expect my leaders to uphold the oath to support and defend the United States Constitution and protect
my free exercise of religion clause of the First Amendment in declaring religious accommodation from
immunization. Please take notice that Title VII of the Civil Rights Act of 1964, as amended 1 November
1980, Part 1605.1 - Guidelines on Discrimination Because of Religion, employers are prohibited from
discriminating against, firing, imposing different work requirements, or limiting employment
opportunities or otherwise adversely affect the status of an employee based on religious convictions.

In Frazee v. Illinois Department of Security, 489 U.S. 829, the U.S. Supreme Court found that a state may
not deny an accommodation simply because a person is not a member of a formal religious organization;
and I trust that my service to our country which bears the hardship of rooting within a congregation will
not be held against me. Furthermore, applicable law has been interpreted to mean that a religious belief is
subject to protection even though no religious group espouses such beliefs or the fact that the religious
group to which the individual professes to belong may not require such a belief.

Be it known that agents working on behalf of the state, school, or government agencies alike in
vaccination matters are prohibited from requesting any administrative proof that explains the recipient’s
religious belief or proves membership to an “acceptable” or specific religion. Agents may not
discriminate between religious denominations and may not make judgments regarding religious
convictions as agents have no jurisdiction to do so.

The point of contact for this memorandum is                                           or


See below enclosure 1 (Religious Leader Endorsement pg.4)
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                                                                          SO1, UNITED STATES NAVY




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                                                 Statement


       I hope to articulate my reasoning well and mean no disrespect to my superiors who are being
ordered to follow through with this. After speaking with the Chaplain, I feel more compelled to write this,
but I would rather speak face to face with my Commanders.
       As a Christian man I am facing a moral dilemma with the order to take this vaccine because it
violates my religious beliefs and other American values. I am not in favor of poor order and discipline in
the Seal Teams. I do not wish to contribute towards any cultural erosion or undermining of my chain of
command. The scriptures tell me to respect the authority of those whom I serve, but it also provides
examples of men who resisted authority when it was contrary to God’s laws. I wish I didn’t have to ask
for an accommodation, but I feel a heavy moral obligation to be forthright. I cannot compromise and
disobey my God. I must treat my body respectfully because it is a temple for the Holy Spirit. I support the
right of others to do the same or as they see fit. This mandate violates my religious freedom.
       I cannot support the degradation of our citizens unalienable rights whom we in the military
ultimately serve and protect. For our citizens to be subjected to a mandatory vaccine is unlawful, an
aggressive political overreach as it violates their civil rights. This weighs on my conscience. I do not want
to ignore what I feel the Holy Spirit has convicted me of. Lastly, I cannot forget my grandparents who
came to the United States from Cuba in the early sixties. I cannot ignore their sacrifices and the reasons
they chose to come here. They were God fearing individuals and the provision of religious freedom was
one of the reasons that they came.
     I want to honor God, I want to help preserve the freedoms of those around me, I want to continue
humbly serving in this great community. Please hear my request and those of my brothers.


Very Respectfully,

  SEAL 15




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             USN




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